

People v Thompson (2023 NY Slip Op 51088(U))



[*1]


People v Thompson (Moniyah)


2023 NY Slip Op 51088(U)


Decided on October 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., Tisch, Michael, JJ.



570165/19

The People of the State of New York, Respondent,
againstMoniyah Thompson, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Ann D. Thompson, J.), rendered February 26, 2019, convicting her, upon her plea of guilty, of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Ann D. Thompson, J.), rendered February 26, 2019, modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and crime assistance fee, and otherwise affirmed. 
Based on our own interest of justice powers and with the People's consent, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: October 16, 2023









